                   Case 5:21-cv-07385-VKD Document 11 Filed 10/07/21 Page 1 of 1
                                                                                                     Reset Form

 1                                    UNITED STATES DISTRICT COURT
 2                                   NORTHERN DISTRICT OF CALIFORNIA
 3                                                     )
     JOHN STOSSEL,                                                  5:21-cv-07385-VKD
                                                       )   Case No: _______________
 4                                                     )
                                       Plaintiff(s),   )   APPLICATION FOR
 5                                                     )   ADMISSION OF ATTORNEY
              v.
                                                       )   PRO HAC VICE
 6   FACEBOOK, INC., et al.,                           )   (CIVIL LOCAL RULE 11-3)
                                                       )
 7                                                     )
                                       Defendant(s).
                                                       )
 8
         I, Stuart S. McCommas                    , an active member in good standing of the bar of
 9    District of Columbia         , hereby respectfully apply for admission to practice pro hac vice in the
10   Northern District of California representing: Plaintiff John Stossel                       in the
                                                                Krista L. Baughman
     above-entitled action. My local co-counsel in this case is __________________________________,     an
11   attorney who is a member of the bar of this Court in good standing and who maintains an office
12   within the State of California.
       MY ADDRESS OF RECORD:                                 LOCAL CO-COUNSEL’S ADDRESS OF RECORD:
13
      4524 Starr Jordan Drive                                177 Post Street, Suite 700
14    Annadale, VA 22003                                     San Francisco CA 94108
       MY TELEPHONE # OF RECORD:                             LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD:
15    (703) 509-7526                                        (415) 433-1700
       MY EMAIL ADDRESS OF RECORD:                           LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD:
16    smccommas@dhillonlaw.com                              kbaughman@dhillonlaw.com
        I am an active member in good standing of a United States Court or of the highest court of
17   another State or the District of Columbia, as indicated above; my bar number is: 1617818      .
18       A true and correct copy of a certificate of good standing or equivalent official document from said
     bar is attached to this application.
19      I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially the
     Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local Rules.
20
         I declare under penalty of perjury that the foregoing is true and correct.
21
      Dated: 10/06/21                                                 Stuart S. McCommas
22                                                                                 APPLICANT

23
                                      ORDER GRANTING APPLICATION
24                              FOR ADMISSION OF ATTORNEY PRO HAC VICE
25       IT IS HEREBY ORDERED THAT the application of Stuart S. McCommas                         is granted,
     subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney must indicate
26   appearance pro hac vice. Service of papers upon, and communication with, local co-counsel
27   designated in the application will constitute notice to the party.

28   Dated:        October 7, 2021
                                                              UNITED STATES DISTRICT/MAGISTRATE JUDGE

     PRO HAC VICE APPLICATION & ORDER                                                                    October 2012
